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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

WILLIAM CARR,                     )
                                  )
    Plaintiff,                    )
                                  )
    v.                            )                        Case No. 3:01-cv-625-DGW
                                  )
LARRY WHITTENBURG and CRAIG HEIN, )
                                  )
    Defendants.                   )

                                             ORDER

       This matter is before the Court on the Motion to Dismiss Plaintiff’s Amended Complaint

filed by the Defendants, Larry Whittenburg and Craig Hein, on September 2, 2005 (Doc. 84).

For the reasons set forth below, the motion is DENIED.

                                          BACKGROUND

       Plaintiff William Carr, an inmate at the Menard Correctional Center (“Menard”) near

Chester, Illinois, brings this action pursuant to 42 U.S.C. § 1983. Carr alleges that, on April 21,

2001, he wrote a grievance against William Spiller, a Menard employee, and mailed it to

Defendant Larry Whittenburg, also a Menard employee (see amended complaint (“Am. Compl.”)

¶¶ 6-7). In retaliation, Whittenburg wrote a false disciplinary report dated April 27, 2001,

claiming that Carr intimidated or threatened his cellmate, Bernard Taylor (see id. ¶ 8). The

report was signed by Defendant Craig Hein, another Menard employee, who ordered Carr to be

placed in temporary confinement (see id. ¶ 9). Carr suffered a scar on his wrist due to being

handcuffed (see id.).

       After an adjustment committee hearing regarding the disciplinary report, Carr was

ordered to undergo a three-month demotion from A grade status to C grade status, three months

in segregation, and denial of contact visits for three months (see Am. Compl. ¶¶ 10-11). During
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the three-month period, Carr was unable to attend Muslim religious services, lost unassigned pay

in the amount of $10 per month, was denied recreation for the first ten days of the three-month

period due to segregation, was ineligible for a medium security transfer, and was unable to

attend the general prison population’s yard recreation (see id. ¶ 11). Also, Carr suffered pain and

bruising and scarring on his wrists due to being required to wear handcuffs that were too small

for his wrists (see id.).

        Carr asserts that Whittenburg and Hein violated his rights under the First Amendment

and Fourteenth Amendment of the United States Constitution by retaliating against him for filing

a grievance (see Am. Compl. ¶ 14). Whittenburg and Hein are sued in their individual and

official capacities (see id. ¶¶ 4 and 5). Carr seeks nominal, compensatory, and punitive damages,

as well as declaratory and injunctive relief (see id. § V). Whittenburg and Hein have moved to

dismiss on four grounds: Carr’s claim for compensatory damages is barred under 42 U.S.C. §

1997e(e) by reason of Carr’s failure to allege a serious physical injury due to the conduct

complained of; Carr’s claim for injunctive relief fails because he alleges no ongoing violation of

his rights by the Defendants; Carr is prohibited by the Eleventh Amendment of the United States

Constitution from maintaining a suit for money damages against Whittenburg and Hein in their

official capacities; and Whittenburg and Hein are shielded from suit by the doctrine of qualified

immunity. The Court will address each of these contentions in turn.

                                            DISCUSSION

        A.      Legal Standard

        The purpose of a motion to dismiss under Rule 12(b)(6) of the Federal Rules of Civil

Procedure is to test the sufficiency of a complaint, not to resolve a case on its merits. See


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Marshall-Mosby v. Corporate Receivables, Inc., 205 F.3d 323, 326-27 (7th Cir. 2000). When

evaluating a Rule 12(b)(6) motion, a court must accept as true all factual allegations in a

complaint and draw all reasonable inferences in a Plaintiff’s favor. See Hentosh v. Herman M.

Finch Univ. of Health Scis./The Chicago Med. Sch., 167 F.3d 1170, 1173 (7th Cir. 1999).

Because the Federal Rules of Civil Procedure establish a liberal pleading system that requires

only notice pleading, a “complaint’s mere vagueness or lack of detail is not sufficient to justify a

dismissal.” National Serv. Ass’n, Inc. v. Capitol Bankers Life Ins. Co., 832 F. Supp. 227, 230

(N.D. Ill. 1993). A motion to dismiss should not be granted unless it “appears beyond doubt that

the plaintiff can prove no set of facts in support of his claim which would entitle him to relief.”

Conley v. Gibson, 355 U.S. 41, 45-46 (1957). See also Johnson v. Martin, 943 F.2d 15, 16 (7th

Cir. 1991).1

       B.       Defendants’ Motion to Dismiss




1. It should be noted that Carr never filed a response to the instant motion to dismiss. As such,
under Local Rule 7.1(c), the Court is entitled, in its discretion, to deem Carr’s failure to respond
an admission of the merits of the motion. However, the United States Court of Appeals for the
Seventh Circuit has instructed that dismissal of a case is not an appropriate sanction for a
party’s failure to comply with a local rule. See Kovilic Constr. Co. v. Missbrenner, 106 F.3d
768, 772-73 (7th Cir. 1997). See also Carver v. Bunch, 946 F.2d 451, 453-54 (6th Cir. 1991) (a
local rule would not be interpreted as authorizing dismissal of an action due to the Plaintiff’s
failure to file a memorandum in opposition to the defendant’s motion to dismiss). Also, district
courts enjoy “considerable discretion in interpreting and applying their own local rules.”
Weibrecht v. Southern Ill. Transfer, Inc., 241 F.3d 875, 881 (7th Cir. 2001), and “noncompliance
with the local rules may be excused by the court in its discretion.” Slanina v. William Penn
Parking Corp., 106 F.R.D. 419, 422 (W.D. Pa. 1984). In Somlyo v. J. Lu-Rob Enterprises., Inc.,
932 F.2d 1043 (2d Cir. 1991), the court held that it is appropriate to excuse a party’s
noncompliance with a local rule where “the application of the letter of Local Rules to a particular
case would cause an unjust result. If faced with potential unfairness, the district court should
tailor the Local Rules to best achieve a just outcome.” Id. at 1049. For the reasons discussed
infra the instant motion to dismiss is not well taken, the Court concludes it is appropriate to
excuse Carr’s noncompliance with Rule 7.1(c).

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               1.      Carr’s Request for Compensatory Damages

       As discussed above, Carr alleges that Whittenburg and Hein retaliated against him for

filing a grievance by making a false disciplinary report against him, in violation of his rights

under the First Amendment and Fourteenth Amendment of the United States Constitution. See,

e.g., Walker v. Thompson, 288 F.3d 1005, 1009 (7th Cir. 2002); DeWalt v. Carter, 224 F.3d 607,

618 (7th Cir. 2000); Babcock v. White, 102 F.3d 267, 275 (7th Cir. 1996); Cain v. Lane, 857 F.2d

1139, 1143 (7th Cir. 1988). Whittenburg and Hein contend that Carr is precluded from

recovering compensatory damages on his claim by 42 U.S.C. § 1997e, which, provides, in

pertinent part, “No Federal civil action may be brought by a prisoner confined in a jail, prison, or

other correctional facility, for mental or emotional injury suffered while in custody without a

prior showing of physical injury.” 42 U.S.C. § 1997e(e).

       It is well settled in this Circuit that 42 U.S.C. § 1997e(e) is a bar only to claims for

mental or emotional injuries absent a physical injury. “Section 1997e(e), as its wording makes

clear, is applicable only to claims for mental and emotional injury. It has no application to a

claim involving another type of injury.” Robinson v. Page, 170 F.3d 747, 748 (7th Cir. 1999).

See also Cassidy v. Indiana Dep’t of Corr., 199 F.3d 374, 376-77 (7th Cir. 2000) (holding that,

where a prisoner asserted no physical injury, “[a] plain reading of § 1997e(e) tells us that

Cassidy’s claims for damages for mental and emotional injuries, contained in paragraph one of

his ‘Report of Specific Forms of Relief Sought,’ must be barred, though Cassidy may

nonetheless pursue all of his other claims for damages.”); Jones-Bey v. Cohn, 115 F. Supp. 2d

936, 939 (N.D. Ind. 2000) (“Section 1997e(e ) merely limits a prisoner’s ability to recover

damages for mental and emotional distress, though he may still seek injunctive relief or other


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forms of damages for any constitutional violation he can prove.”).

        It is likewise well settled that “[a] deprivation of First Amendment rights standing alone

is a cognizable injury.” Rowe v. Shake, 196 F.3d 778, 781 (7th Cir. 1999). Further, such an

injury is compensable through so-called “general damages” or “presumed damages,” even in the

absence of proof of injury. In City of Watseka v. Illinois Public Action Council, 796 F.2d 1547

(7th Cir. 1986), the court explained that a plaintiff in an action under 42 U.S.C. § 1983 may “not

recover damages based upon the ‘abstract . . . value . . . or . . . importance . . . of constitutional

rights,’” but that an injury to First Amendment rights is one “that [may] be compensated through

substantial money damages.” 796 F.2d at 1559 (quoting Memphis Cmty. Sch. Dist. v. Stachura,

477 U.S. 299, 310, 311 n.14 (1986)) (affirming an award of $5,000 in presumed damages to a

political canvassing company whose First Amendment rights were violated by a municipal

ordinance limiting door-to-door soliciting). See also Hessel v. O’Hearn, 977 F.2d 299, 302 (7th

Cir. 1992); Gilpin v. American Fed’n of State, County & Mun. Employees, AFL-CIO, 875 F.2d

1310, 1314 (7th Cir. 1989). In sum, 42 U.S.C. § 1997e(e) does not preclude the recovery of

compensatory damages in this case.

                2.      Carr’s Request for Injunctive Relief

        As noted, Carr’s complaint requests that the Court award him injunctive relief. See

Am. Compl. § V. The Court agrees with the Defendants that the complaint’s allegations in

support of a request for injunctive relief are thin. However, the Court is not aware of any

prescribed form for pleading for an injunction. See Galli v. Morelli, 277 F. Supp. 2d 844, 861

(S.D. Ohio 2003) (a former state university architect who brought a First Amendment retaliatory

discharge action against a university administrator, stemming from his speech regarding alleged


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improprieties in a renovation project, properly pleaded an injunctive remedy as an element of the

claim by virtue of the ad damnum clause in his complaint requesting “such equitable and further

relief as may be just and appropriate,” and thus the architect would be entitled to an injunction

ordering reinstatement in the event of a successful claim); Pine Township Citizens’ Ass’n v.

Arnold, 453 F. Supp. 594, 598 (W.D. Pa. 1978) (“[It is] hornbook law that specific allegations of

irreparable injury and inadequate remedy at law are not necessary if the averments [of the

complaint] as a whole show that this would be the result of the acts complained of. It is the duty

of the district court judge to examine the complaint for substantive allegations which would

support a claim for injunctive relief and not to look merely at the prayer for relief.”)

(citations omitted).

       In this instance, Carr’s complaint requests that the Court “[g]rant injunctive relief

ordering defendants to cease from . . . acts of retaliation and denial of fair hearings,” suggesting

a general policy of promoting retaliation among Menard officials. Am. Compl. § V. Also, the

complaint alleges that “Defendants Whittenburg and Hein conspired between themselves and

with others with respect to the retaliation against plaintiff in the form of the 4/27/01 false

disciplinary report and the subsequent guilty finding at the adjustment committee hearing where

plaintiff was denied the testimony of any witnesses.” Id. ¶ 12. Liberally construed, these

allegations could be read as suggesting an ongoing threat of harm. Naturally, the Court would

evaluate any request by Carr for a permanent injunction in light of the principle that “damages

are the norm,” and thus, an award of a permanent injunction is “abnormal.” Walgreen Co. v.

Sara Creek Prop. Co., B.V., 966 F.2d 273, 275 (7th Cir. 1992). In evaluating such a request, the

Court would be mindful of the principle that an injunction is an extraordinary remedy, to be used


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sparingly, see Chicago Bd. of Educ. v. Substance, Inc., 354 F.3d 624, 631-32 (7th Cir. 2003) (a

court has an independent duty to assure that any injunctions it issues are appropriate in scope), as

well as the familiar rule that, “in the prison context, a request for injunctive relief must always be

viewed with great caution because . . . judicial restraint is especially called for in dealing with

the complex and intractable problems of prison administration.” Goff v. Harper, 60 F.3d 518,

520 (8th Cir. 1995). See also Forrest v. Horn, No. CIV. A 97-CV-4442 1999 WL 552546, at *3

(E.D. Pa. June 29, 1999) (quoting Rizzo v. Goode, 423 U.S. 362, 379 (1976)) (“[W]here a

plaintiff requests an injunction that would require the Court to interfere with the administration

of a state prison, ‘appropriate consideration must be given to principles of federalism in

determining the availability and scope of equitable relief.’”) (emphasis in original). In short,

while the Court is skeptical about the likelihood that Carr will prevail on a request for injunctive

relief in this case, at this juncture the Court cannot say that it appears beyond doubt that he can

prove no set of facts in support of his claim which would entitle him to relief. Therefore,

dismissal of Carr’s request for injunctive relief will be denied.

               3.      Carr’s Official Capacity Claims

       Because the Court has chosen to deny dismissal of Carr’s request for injunctive relief at

this juncture, the Court likewise will deny dismissal of Carr’s claims against Whittenburg and

Hein in their official capacities. An official capacity suit is effectively an action against the

entity of which the Defendant officer is the agent and is treated as a suit against that entity. See

McNeal v. Cook County Sheriff’s Dep’t, 282 F. Supp. 2d 865, 868 (N.D. Ill. 2003). Because

damage claims against a state are barred by the Eleventh Amendment, state officials may not be

sued for damages in federal court in their official capacity. See Scott v. O’Grady, 975 F.2d


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366, 369 (7th Cir. 1992). Further, neither state agencies nor state officials acting in their official

capacities are “persons” within the meaning of 42 U.S.C. § 1983. See Will v. Michigan Dep’t of

State Police, 491 U.S. 58, 71 (1989). However, the Eleventh Amendment shields officials only

from claims for damages, not from injunctive relief. See Brown v. Budz, 398 F.3d 904, 918 (7th

Cir. 2005); Williams v. Wisconsin, 336 F.3d 576, 580-81 (7th Cir. 2003).

       With regard to Carr’s official capacity claims, Carr must prove that the purported

deprivation of his constitutional rights resulted from an official policy or custom of Menard. See

Monell v. Department of Soc. Servs. of City of N.Y., 436 U.S. 658, 694 (1978). Nowhere in his

complaint does Carr contend that Menard maintains a policy or custom which caused the alleged

deprivation. Rather, he attributes all of his problems at the prison to acts of the particular

defendants. However, as discussed, a liberal construction of the allegations of Carr’s complaint

could be taken to suggest a prison-wide policy or custom was involved in the retaliation at issue.

In the light of the allegations of Carr’s complaint and, most importantly, the extremely

deferential pleading standard for official capacity liability, the Court will allow Carr to go

forward. See Leatherman v. Tarrant County Narcotics Intelligence & Coordination Unit, 507

U.S. 163, 168-69 (1993) (absent amendment of Rule 8 and Rule 9 of the Federal Rules of Civil

Procedure, “federal courts and litigants must rely on summary judgment and control of discovery

to weed out unmeritorious claims sooner rather than later.”).

               4.      Qualified Immunity

       Finally, Whittenburg and Hein contend that they are entitled to dismissal because they

are shielded from suit in this instance by the doctrine of qualified immunity. “Qualified

immunity is ‘an entitlement not to stand trial or face the other burdens of litigation.’” Saucier v.


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Katz, 533 U.S. 194, 200 (2001) (quoting Mitchell v. Forsyth, 472 U.S. 511, 526 (1985)). It “is a

judicially created doctrine that stems from the conclusion that few individuals will enter public

service if such service entails the risk of personal liability for one’s official decisions.” Donovan

v. City of Milwaukee, 17 F.3d 944, 947 (7th Cir. 1994). The doctrine “gives public officials the

benefit of legal doubts.” Id. at 951 (quoting Elliott v. Thomas, 937 F.2d 338, 341 (7th Cir.

1991)). Qualified immunity will shield Whittenburg and Hein “from liability for civil damages

if their actions did not violate ‘clearly established statutory or constitutional rights of which a

reasonable person would have known.’” Hope v. Pelzer, 536 U.S. 730, 739 (2002) (quoting

Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)).

       “The threshold inquiry a court must undertake in a qualified immunity analysis is

whether plaintiff’s allegations, if true, establish a constitutional violation.” Hope, 536 U.S. at

736. If the plaintiff satisfies the threshold qualified immunity inquiry, “the next, sequential step

is to ask whether the [constitutional] right was clearly established,” an inquiry that “must be

undertaken in light of the specific context of the case, not as a broad general proposition.”

Saucier, 533 U.S. at 201. “The relevant, dispositive inquiry in determining whether a right is

clearly established is whether it would be clear to a reasonable officer that his conduct was

unlawful in the situation he confronted.” Id. at 202 (citing Wilson v. Layne, 526 U.S. 603, 615

(1999)). “To show this, a plaintiff may point to closely analogous cases establishing that the

conduct is unlawful, or demonstrate that the violation is so obvious that a reasonable state actor

would know that what he is doing violates the Constitution.” Morrell v. Mock, 270 F.3d 1090,

1100 (7th Cir. 2001). “If the law did not put the officer on notice that his conduct [was] clearly

unlawful, . . . [a] judgment based on qualified immunity is appropriate.” Saucier, 533 U.S. at


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202. This is because qualified immunity shields “all but the plainly incompetent or those who

knowingly violate the law.” Malley v. Briggs, 475 U.S. 335, 341 (1986).

       In this instance it is clearly established beyond peradventure that prison officials may not

retaliate against prisoners for exercising their First Amendment right to file grievances or

otherwise complain about their conditions of confinement. See Walker, 288 F.3d at 1009;

DeWalt, 224 F.3d at 618; Babcock, 102 F.3d at 275; Cain, 857 F.2d at 1143. Therefore, the

Defendants’ request for dismissal of Carr’s claims for retaliation in violation of his constitutional

rights on the basis of the qualified immunity doctrine will be denied. See Turley v. Catchings,

No. 03 C 8491, 2004 WL 2092008, at *4 (N.D. Ill. Sept. 15, 2004); Trepanier v. Ryan, No. 00

C 2393, 2003 WL 21209832, at *5 (N.D. Ill. May 21, 2003); Martin v. Snyder, No. 00 C 983,

2002 WL 484911, at *11 (N.D. Ill. Mar. 28, 2002); Snyder v. Roth, No. 97 C 254, 1997

WL 701337, at *5 (N.D. Ill. Nov. 6, 1997). See also Moore v. Sarrazin, No. 95 C 5185, 1997

WL 610307, at *4 (N.D. Ill. Sept. 29, 1997).

                                           CONCLUSION

       For the foregoing reasons, the Motion to Dismiss Plaintiff’s Amended Complaint filed

by the Defendants, Larry Whittenburg and Craig Hein, is DENIED (Doc. 84).

DATED: April 28, 2006

                                                              s/ Donald G. Wilkerson
                                                              DONALD G. WILKERSON
                                                              United States Magistrate Judge




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